           Case 4:20-mj-00074-JTJ Document 10 Filed 10/16/20 Page 1 of 2



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                  MJ 20-74-GF-JTJ

                  Plaintiff,               (3:16CR00436-1 BR)

       vs.
                                                ORDER
 JOHNNY ELLERY SMITH,

                  Defendant.



      The government has moved under Fed. R. Crim. P. 5(c)(3)(D) for an order

directing the United States Marshals Service to transport the Defendant Johnny

Ellery Smith (Smith)to the District of Oregon, where the original charging

documents were filed. The Court conducted a hearing on the motion on

October 15, 2020. For the reasons stated in open court.

      IT IS HEREBY ORDERED:

      1.      The government’s Motion to Transfer Defendant to the District of

Offense(Doc. 2)is GRANTED.

      2.      The United States Marshals Service shall transport Smith to the
        Case 4:20-mj-00074-JTJ Document 10 Filed 10/16/20 Page 2 of 2




District of Oregon, where the original charging documents were filed.

      DATED this 16th day of October, 2020.




                                                         I


                                                                              'v'
                                       V             1


                                             United States Magistrate Judge




                                       2
